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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                                       Civil No. 18cr149 (SRN/SER)

                                     Plaintiff,

v.                                                                   ORDER OF RECUSAL

Norris Deshon Andrews
                                     Defendant.


        Pursuant to the provisions of 28 U.S.C. §455(a), the undersigned hereby recuses himself

in this matter.



Dated: July 16, 2018                                s/ Steven E. Rau
                                                    Steven E. Rau
                                                    U.S. Magistrate Judge
